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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 BRANDY AZURE,
                                               CV 21-112-GF-BMM
            Plaintiff,
      vs.
                                               ORDER
 UNITED STATES OF AMERICA,
 JARED STANDING, JOHN COOK,
 ROOSEVELT COUNTY, and DOES 1-10.

            Defendants.

 ROOSEVELT COUNTY,

            Cross-Claimant,
      vs.

 UNITED STATES OF AMERICA,

            Cross Defendant.


      The parties having filed a stipulation of dismissal pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), and good cause appearing,

      IT IS ORDERED that this case is DISMISSED WITH PREJUDICE in its

entirety, each party to bear its own costs and fees, if any. The Clerk of Court is

directed to CLOSE the case.

      DATED this 24th day of October, 2022.
